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                            3
                                  Attorney for Defendant
                            4     JAY CHEN
                            5                           UNITED STATES DISTRICT COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA
                            6                              SAN FRANCISCO DIVISION
                            7
                                  UNITED STATES OF AMERICA,
                            8
                                               Plaintiff,                     CR 05-375 SI
                            9
                                        v.                                    STIPULATION AND ORDER
                          10                                                  TO MODIFY CONDITIONS OF
                                  JAY CHEN,                                   PRETRIAL RELEASE
                          11
                                            Defendant.
                          12      ______________________________/
                          13            THE PARTIES HEREBY STIPULATE AND AGREE that defendant JAY
                          14      CHEN's pretrial release conditions shall be modified as follows:
                          15            1.    Defendant Chen shall no longer require a Third Party
                          16      Custodian;
                          17            2.    Defendant shall be permitted to move from his sister's
                          18      house into a residence of his own, with the approval of Pretrial
                          19      Services.
                          20            Pretrial Services Officer Betty Kim has no objection to
                          21      this request.
                          22            Dated: June 20, 2006
                          23

                          24         /s/ ANDREW SCOBLE                       /s/ OMAR FIGUEROA
                                  ANDREW SCOBLE                             OMAR FIGUEROA
                          25      Assistant U.S. Attorney                   Attorney for Defendant
                          26
                                        IT IS SO ORDERED.
                          27
P IE R 5 L A W O F F IC E S
    506 B R O A DW A Y
    SAN FR AN C ISC O       28                                        SUSAN ILLSTON, Judge
      (415) 986-5591
   FAX : (415) 421-1331                                               United States District Court
